Case 3:18-cr-00075-RLY-MPB            Document 34        Filed 09/04/19      Page 1 of 19 PageID #:
                                              70



                                 UNITED STATES DISTzuCT COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                      EVANSVILLE DIVISION

   LINITED STATES OF AMERICA,                    )
                                                 )
           Plaintiff,                            )
                                                 )
                                                 )   CAUSE NO. 3:18-cr-00075-RLY-MPB
                                                 )
   BARBARA S. KELLEY,                            )
                                                 )
            Defendant                            )

            PETITION TO E IEF PLEA OT GUILTY AND PL                         AGREEMENT

          The United States of America, by counsel, Josh J. Minkler, United States Atlomey for the

   Southem District of Indiana, and, Kyle M. Sawa, Assistant United States Attomey ('the

   Govemment"), and the defendant, BARBARA S. KELLEY C'the defendant"), in person and by

   counsel, Sleve Bohleber, hereby inform the Court that a Plea Agreement has been reached in this

   case pursuant to Federal Rule of Criminal Procedure I I (c[ I )(B). The following are its terms


   and conditions:

                                   Part l: Guiltv Plea and Charee(s)

          1.               Plee of Guilty: The defendant petitions the Court for leave to enter and

   agrees to enter a plea of guilty to the following offense charged in the Superseding Indictnent:

                  A.       Count I which charges that the defendant committed the

   offense of Possession with Intent to Distribute Fifty Grams or More of Methamphetamine, in

   violation ofTitle 21, United States Code, Sections 841(a)(1) and 841(bxlXA).

          2.         Potential Maximum Penalties: The offense charged in Count I ofthe

   Supeneding Indictrnent is punishable by a minimum sentenc€ of 10 years' imprisonment, a

   maximum sentence of lile imprisonmen! a $ 10,000,000 fine, and no less than 5 years'

   supenrised release following any terrn of imprisonment.
Case 3:18-cr-00075-RLY-MPB            Document 34         Filed 09/04/19       Page 2 of 19 PageID #:
                                              71



          3.      EleDents of tbe Ofiense: To sustain the offense(s) to which the defendant is

   pleading guilty, the Govemment must prove the following elements beyond a reasonable doubt:

                  A. The defendant knowingly possessed 50 grams or more of methamphetamine
                      (actual);

                  B. The defendant intended to distribute the substance to another person; and
                  C. The defendant knew the substance contained some kind ofa controlled

                      substance.

                                      Part 2: Genqrsl Provisions

          4.      Sentencing Court's Discretion Withir Stltutory Range: The defendant agrees

   and rmderstands that: (A) the Court will use its discretion to fashion a sentence within the statutory

   range(s) set forth above; (B) the Court will consider the factors set forth in 18 U.S.C. $ 3553(a) in

   determining the appropriate sentence within the statutory range(s); (C) the Court will also consult

   and take into account the United States Sentencing Guidelines ("Sentencing Guidelines" or

   "U.S.S.G.) in determining the appropriate sentence within the statutory range(s); (D) the

   Sentencing Guidelines are not mandatory or binding on the Court, but are advisory in natu€; (E)

   r€stitution may be imposed; (F) by pleading "Guilty" to more than one offense (Count), the Court

   may order the sentences to be served consecutively one after another; (G) the final determination

   concerning the applicable advisory guideline calculation, criminal history category, and advisory

   sentencing guideline range will be made by the Cout; and (H) by pleading "Guilty," the Court

   may impose the same punishment as ifthe defendant had plead "Not Guilty," had stood trial and

   been convicted by a jury.

          5.      Sentencing Court Not Bound by Guidolincs or Recommendationst The




                                                     2
Case 3:18-cr-00075-RLY-MPB           Document 34         Filed 09/04/19       Page 3 of 19 PageID #:
                                             72



   defendant acknowledges that this Plea Agreement is govemed by Federal Rule of Criminal

   Procedure I I (c)(lXB) and that the determination of the defendant's sentence is within the

   discretion of the Coun. The defendant understands that if rhe Court decides to impos€ a sentence

   higher or lower than any recommendation ofeither party, or determines a different advisory

   sentencing guideline range applies in &is case, or decides to impose a sentence outside of the

   advisory sentencing guideline range for any reason, then the defendant will not be permitted to

   withdraw this plea of guilty for that reason and will be bound by this plea ofguilty.

          6.       Plea Agreement Brsed on Informrtion Presently Known: The defendant

   recognizes and understands that this Plea Agreement is based upon the information presently

   known to the Govemment. The Govemment agrees not to bring other federal charges against the

   defendant based on information cunen y known to the United States Attomey for the Southem

   District of Indiana.

           The Govemment will inform the Court and the defendant at the time of taking the

   defendant's plea whether the Govemment has obtained any information after the Plea Ageement

   was signed that may warant bringing other federal charges against the defendant.

           7.      No Protection From Prosecution for Unknown or Subscquent Ofienscs: The

   defendant acknowledges and agrees that nothing in this ageement shall protect the defendant in

   any way from prosecution for any offense not specifically covered by this agreement, or not

   known to the United Starcs Attomey for the Southem District of Indiana at this time. The

   defendant further acknowledges and agrees that nothing in this agreement shall protect the

   defendant in any way from prosecution for any offense committed affer the date of this

   agreement.

           E.      Rights Under Rule ll(b), Fed. R Crim. P,: The defendant understands that the



                                                    3
Case 3:18-cr-00075-RLY-MPB                 Document 34           Filed 09/04/19          Page 4 of 19 PageID #:
                                                   73



   Govemment has the right, in a prosecution for perjury or false statement, to use against the

   defendant any statement that the defendant gives under oath during the guilty plea colloquy. The

   defendant also understands that the defendant has the right: (A) to plead not guilty, or having

   already so pleaded, the right to persist in that plea; (B) to ajury trial; (C) to be represented by

   counsel--and if necessary have the court appoinl counsel--at trial and al every other stage ofthe

   proceedings, including appeal; and (D) to confront and cross-examine adverse witnesses, to be

   protected from compelled self-incrimination, to testi$ and present evidence, and to compel the

   attendance ofwitnesses. The defendant also understands that the Constitution guarantees the

                                                     r; and if found guilty of the charge(s), the right to
   right to be considered for release until trial

   appeal the conviction on such charge(s) to a higher court. The defendant understands that ifthe

   Court accepts this plea of guilty, the defendant waives all of these righs.

                                      Part 3: Scntence of Imorisonnent

           9.       Sentcncing Recommendation Pursuant to Federal Rule of Criminal

   Procedure ll(cXf)G): The parties have gg! agreed upon a specific sentence. The parties

   reserve the right to presenl evidence and arguments conceming what they believe to be the

   appropriate sentence in this matter.

                  r.         Government's Recommendstion: The Govemment has agreed to

   recommend a sentence within the Guidelines Range as calculated by the Court, provided that the

   defendant (i) continues to fully accept responsibility for &e offense, (ii) does not commit a new

   criminal offense before the date ofany sentencing, and (iii) does not otherwise violate the terms

   ofany pre-trial release before the date of sentencing.




      rTitle 18, U.S.C. S0 3l4l-3 156, Release and Detention Pendine Judicial Proceedines.


                                                           4
Case 3:18-cr-00075-RLY-MPB           Document 34        Filed 09/04/19      Page 5 of 19 PageID #:
                                             74



                 b.      Defendant's Recommendation: The Defendant is free to ask for any

   sentence, including one below the advisory Cuidelines range determined by the Court.

           10. Placement: The Govemment agrees not to oppose any r€ques made by the
   defendant for a recommendation by the Court that the delendant serve any period of

   imprisonment in a specific facility. The defendaut acknowledges and understands that any

   recommendation by the Court does not bind the United States Bureau of Prisons.

           ll.    Supenised Release: Both parties resewe the right to present evidence and

   argumen8 conc€rning whether the Court should impose a term of supervised release to follow

   any term of imprisonmeat ir this case, the duration of any term of supervised release, and the

   terms and conditions ofthe release.

           12, Couditions of Supenised Releese: The parties understand and agree that the
   Court will determine which standard and special conditions of supervised release to apply in this

   case. The parties reserve the right to present evidence and arguments concerning these

   conditions.

                            Prrt 4: Monetrrv Provisions rnd f,'orfeiture

           13. Mandetory Specigl Assessmene The defendanl will pay a tota! of $100
   on the date of sentencing or as ordered by the Coud to the Clerk, United Sates District Court,

   which arnount represents the mandatory special assessment fee imposed pursuant to 18 U.S.C. $

   3013.

           14. Fine: The Government will not recommend the imposition of a fine in this case.
   However, the parties understand and agree that the Court will determine whether to impose a fine

   after hearing any arguments from the parties.

           15. Obligation to Pay Financial Componeat of Sctrtence: Ifthe defendant is

                                                   5
Case 3:18-cr-00075-RLY-MPB            Document 34         Filed 09/04/19       Page 6 of 19 PageID #:
                                              75



   unable to pay any financial component of the defendant's senteoce on the date of sentencing,

   then the defendant agrees that the payment of the financial component should be a condition of

   supervised release. The defendant has a continuing obligarion to pay the financial component of

   the sentence. The defendant further aglees that as ofthe date of filing this Plea Agreement the

   defendant will provide all requested financial informatioq including privacy waivers, consents,

   and releases requested by the Government to access records to veri$ the defendant's finarrcial

   disclosures, to the Govemment lor use in the collection of any fines, restitution and money

   judgments imposed by the Court and authorizes the Govemment to obtain credit reports relating

   to the defendant for use in the colleclion of any fines and restitution, and money judgm.ents

   imposed by the Court. The defendant also authorizes the Govemment to inspect and copy all

   financial documents and information held by the United States Probation Office. Ifthe

   defendant is ever incarcerated in connection with this case, the defendant may participate in the

   Bureau of Prisons Inmate Financial Responsibility Program.

          16. Forfeiture: The defendant a&nits that the property listed below constitutes
   contraband, was used to facilitate, or constitutes the fruits of the commission oflhe offense(s) to

   which the defendant is pleading guilty, and, therefore, is subject to forfeiture to the United

   Statps. The defendant abandons all right, title, and interest the defendant may have in the

   prop€rty listed below so that proper disposition, including destruction, may be made thereofby

   federal, state, or local law enforcement agencies involved in the investigation ofthe defendant's

   criminal activity, without further notice or obligation whatsoever owing to the defendant. The

   delendant fi.rrther agrees not to contest any forfeiture action brought against and consenis to the

   forfeiture of any ofthe property listed below, whether any such forfeiture action is




                                                     6
Case 3:18-cr-00075-RLY-MPB             Document 34         Filed 09/04/19       Page 7 of 19 PageID #:
                                               76



   administrative, judicial, civil, or criminal, and agrees not to contest any use or destruction of any

   of the property listed below by any {ederal, state, or local law enforcement agency:

                          A. Approximately $5,157.00 in United States Currency;
                          B, One (1) Samsung Galaxy S7, bearing serial number R38K50F8GFV;
                              and

                          C. One (l) black "accurS" digital scale.
   The defendant consents to the entry of orders of forfeiture for such property and waives the

   requirements of Rules 32.2 and 43(a), Fed. R. Crim. P., regarding notice of the forfeiture in the

   charging documenL annotmcement ofthe forfeiture al sentencing, and incorporation of the

   forfeiture in the judgrnent. The defendant understands that the forfeiture of assets is part of the

   sentence that may be imposed in this case and waives any failure by the Court to advise the

   defendant ofthis, pursuant to Rule 1l(b)(l)(J), at the time the defendant's guilty plea is accepted.

   The defendant frrther agrees to waive all constitutional and statutory challenges in any manner

   (including direct appeal, habeas corpus, or any other means) to any forfeiture caried out in

   accordance with this Plea Agreement on any grounds, including thu the forfeiture constitutes an

   excessive fine or punishment.

                                 Prrt 5 : Factual Basis for Guilty Plea

           17. The parties stipulate and agree that the following facts establish a factual basis for
   the defendant's plea of guilty to the offense set forth in Paragraph One, above, and that the

   Govemment would be able to establish the following facts beyond a reasonable doubt in the

   event this cause was to proced to trial. The following information is only a summary of the

   Govemment's evidence. This Plea Agreement is not intended to foreclose the presentation ofand

   the Government reserves the right to present additional evidence at the time of sentencing.



                                                      7
Case 3:18-cr-00075-RLY-MPB           Document 34         Filed 09/04/19      Page 8 of 19 PageID #:
                                             77



                  A,     In or around August 2017, the Lead Agent received information from a

   credible and reliable Washington Police Department Confidential Source (hereafter referred to as

   the CS) regarding a source of supply of methamphetamine based out of Huntingburg,

   lndiana. Further investigation revealed the source's narne as Barbara Sue Kelley. In September

   2018, the Lead Agent obtained a search warrant to track the GPS location ofa cell phone number

   linked to Barbara Kelley.

                  B.     On September 13, 2018, law enforcement began monitoring the location

   ofthe target phone. On this same date, in the late evening hours, officers observed that the target

   phone appeared to be travelling East on Interstate 64 towards louisville, Kentucky. As a resu]t,

   law enforcement began surveillance along I-64. On September 13,2018, Indiana State Police

   ('ISP") Trooper Connor Giesler was requested to assist the DEA Evansville Resident Office on

   Interstate 64 in Perry County, Indiana regarding possible narcotics hafficking. The DEA ERO

   believed that Barbara Kelley was traveling to Louisville, Kentucky to obtain quantities of

   methamphetamine.

                  C.     On September 14,2018, at approximately l:15 a.m. EST, ISP Detective

   Mitch Wier observed who he knew to be Kelley at a gas station in Louiwille. It was detennined

   that Kelley was taveling with other occupanls in a 2007 Chevy fuuinox. At approximately l:56

   a.m. DEA TFO Brandon Garland observed a black Chevy Equinox pass the Georgetown exit

   traveling West on I-64. GPS locations were consistent with the observations of the officers. At

   approximately 2:09 a.m., DEA SA Kevin Ruffirer was west of Corydo4 lndiana and was able to

   confirm this vohicle to have a matching registration. Trooper Ciesler observed via his radar that

   the Equinox was traveling at a rate of78 miles per hour in a posted 55 mile per hour construction




                                                    8
Case 3:18-cr-00075-RLY-MPB              Document 34        Filed 09/04/19       Page 9 of 19 PageID #:
                                                78



   zone. Trooper Giesler aclivated his emergency lights and the vehicle pulled over near the 74.5

   mile marker in Perry County.

                  D.      Trooper Geisler approached the vehicle and confirmed Kelley to be the

   front seal passenger. While speaking with the driver, Trooper Geisler noticed that he was

   protsely sweating, he was visibly shaking and the artery in his neck was visibly throbbing. The

   driver also avoided making eye contact. Through Geisler's training and experience, he

   recogrrized these behaviors to be signs of nervousness. This increased his suspicion that a crime

   was aking place. Geisler advised the driver why he was stopped. The driver advised he did not

   realize it had dropped down to 55 MPH. Geisler requested Kelley's identification, to which she

   attempted to retrieve it from a purse on the floorboard by her feet but was unable to locate it at

   that time. Geisler asked Kelley if she would write down her name, date of birth, and social

   security number on his notepad. Kelley complied with the request.

                  E.      Geisler retumed to his patrol vehicle to request license checks on the

   driver, along with warant checks for all occupants. While requesting the returns for the driver

   though ISP dispatch, Officer Morgan utilized his K9 partner Felony to conduct a free air sniff of

   the vehicle with all occuponts still inside the vehicle. Officer Morgan advised that Felony

   indicated to the presence of illegal narcotics during the free air sniffof the vehicle.

                  F.      Geisler assisted the other officers in having all occupants exit the vehicle.

   Geisler went to the passenger side window, where he spoke with Kelley. Geisler asked her to

   step out of the vehicle aad stand with the other officers at the rear of the vehicle. As Kelley was

   exiting the vehicle, Geisler observed a large bulge in the front of her pants. Geisler followed

   Kelley to the rear of the vehicle.




                                                      9
Case 3:18-cr-00075-RLY-MPB            Document 34         Filed 09/04/19       Page 10 of 19 PageID #:
                                               79



                   G.      After all occupants had exited, OIIicer Morgan sent Felony into the

    vehicle. Officer Morgan advised that Felony indicated specifically on the purse that Kelley had

    retrieved her ID from. Offrcer Morgan advised that Felony did this on two occasions, and had

    also indicated on the passanger seat thx Keltey had bean sitting in. While searching the vehicle,

    Officers located a plastic sack in the front passenger floorboard that contained digital scales and

    multiple plastic baggies. Geisler also located a glass smoking device in between the driver's seat

    and center console. The glass smoking device contained residue and bum marks that through

    Geisler's training and experience he knew to be consistent with methamphetamine use.

                   H.      Geisler advised Offrcer James of his observation of the bulge in Kelley's

    pants. Omcer Jenes advised that while checking Kelley's pockets, she could feel what she

    believed to be plastic on the inside. Officer James advised that she asked Kelley what it was, and

    Kelley advised that it was methamphetamine in the front of her pants. Kelley then removed the

    methamphetamine herself from the inside of her pants.

                   L       The item Kelley removed from her pants was a plastic baggie wrapped in

    rubber bands that further contained a multi-colored envelope, further containing a blue plastic

    baggie containing a crystalJike substance having a presumptive positive field test for

    metharnphetamine. The total approximate weight of methamphetamine with the blue plastic

    baggie *zs 316 grrns (approximately I I ounces). TFO Garland and Geisler know through their

    training and experience that this amount of metharnphetamine is not that ofa typical user

    amount, but would be that ofa methamphetamine distributor. Kelley intended to distribute the

    methamphetamine that was found on her person.

                   J,      TFO Garland advised Kelley of her Miranda waming. Kelley indicated

    that she understood her rights and advised that the amount of methamphetamine she had




                                                     l0
Case 3:18-cr-00075-RLY-MPB           Document 34         Filed 09/04/19      Page 11 of 19 PageID #:
                                              80



    concealed was approximately 7-8 ounces. TFO Garland then began an audio-video recorded

    interview with Kelley, where she again confirmed that she understood her rights. Kelley

    confirmed that she had obtained the methamphetamine in Louisville.

                   K      While TFO Garland was interviewing Kelley, Ceisler located an

    undetermined amount of U.S. currency in multiple envelopes in Kelley's purse that Felony had

    alerted on. One bundle of cunency was loose within the purse, and the remaining curency was

    in four separate envelopes. TFO Garland confirmed with Kelley that stre was not working in the

    last year and subsequently seized the U.S. curency. Approximately $5,157 was seized and is

    listed in the forfeiture section ofthe Superseding Indictrnent and plea agreement.

                   L.     The crystal-like substance seized from Kelley was rransported to DEA's

    North Cennal Laboratory for additional testing. The substance was identified as

    methamphetamine, with a net weight of 303. I grams, +/- 0.2 grams. The substance had a purity

    of 78o +l-3%, resulting in an amount of pure methamphetamine of 236.4 grams +/- 10.6 grams.

                   M,     Perry County, Indiana is located within the Southern District of Indiana.

                                       Part 6: Other Conditions

           18. Background Information: The defendant acknowledges and understands that no
    limitation shall be placed upon the Court's consideration of information conceming the

    background, character, and conduct of the defendant for the purpose of imposing an appropriate

    sentenc€. The defendant acknowledges and understands that the Govemment is not prohibited

    from providing information conceming background, character, and conduct of the defendant for

    the purpose of recommending or advocating an appropriate guideline calculation and sentence.

           19. Good Behavior Requirement: The defendant agrees to fully comply with all



                                                    ll
Case 3:18-cr-00075-RLY-MPB            Document 34         Filed 09/04/19      Page 12 of 19 PageID #:
                                               81



    conditions ofrelease imposed by the Court during all stages of this case. If the defendant fails to

    fully comply with such conditions, then the Govemment may withdraw from lhis Agreement.

           20. Compliance with Federal and Ststc Laws: The defendant understands that the
    obligations ofthe Government in this Plea Agreement are expressly contingent upon the

    defendant abiding by federal and $ate laws.

                               Pgrt 7: S€ntencine Guideline Stioulatione

           21. Guideline Computations: Pursuant to Section 681.4 of the Sentencing
    Guidelines, the parties agree to the Stipulations below. The parties understand and agree that

    these Stipulations are binding on the parties but are only a recommendation to the Court and tlEt

    the Court will determine the advisory sentencing guidelines applicable in this case. The parties

    agree that no stipulation regarding atry factors in Chapter 4, Criminal History Category, of the

    Sentencing Guidelines has been made, and that such determination will be made by the CourL

    The 2018 version of the Sentencing Guidelines has been used by the parties to make the

    stipulations set forth below.

                   A.      Pursuant to U.S.S.G. 2Dl.l(aX5) and 2Dl.l(cX4), the base level for the

    offense is 32 because the drug weight is at least I 50 grams but less than 500 grams of

    methamphetamine (actual).

                   B.      Acceptance of Responsibility: To date, the defendant has demonstated a

    recogrition and affirmative acceptance ofpersonal responsibility for the defendant's criminal

    conduct. Based upon the defendant' s willingness to acc€pt a Plea Agreemenl and enter a plea of

    guilty O the criminal conduct noted in this agreernent and the defendant's agreement to

    cooperate in and not to contest the forfeiture ofthe property described above, the Govemment

    agrees that the defendanl should receive a two (2) level reductiot provided the defetdant




                                                     12
Case 3:18-cr-00075-RLY-MPB            Document 34         Filed 09/04/19       Page 13 of 19 PageID #:
                                               82



    satisfies the criteria set forth in Guideline $ 3El.l(a) up to and including the time of sentencing.

    The defendant timely notified the Govemment ofdefendant's intention to enter a plea of guilty,

    thereby permitting the Government and the Court to allocate their resources efficiently. After

    the Defendant enters a plea of guilty, the Government intends to file a motion pursuant to

    U.S.S.C. $ 3E1.1(b) requesting that the Court decrease the offense level by one (1) additional

    level. The paties reserve the right to present evidence and arguments concerning the

    defendant's acceptance ofresponsibility ar the rime of sentencing.

                   C.      Final Ofrense Lcvel: 29

                                   Part 8: Weiver of Risht to Anoeal

           22. Direct Appeal: The defendant understands that the defendant has a statutory
    right to appeal the conviction and sentence imposed and the manner in which the sentence was

    determined. Acknowledging this right, and in exchange for the concessions made by the

    Govemment in this Plea A$eement, the defendant expressly waives the defendant's right to

    appeal the conviction imposed in this case on any ground, including the right to appeal cotrferred

    by 18 U.S.C. $ 3742. The defendant further expressly waives any and all challanges to the

    statute(s) to which the defendant is pleading guilty on constitutional gounds, as well as any

    challenge that the defendrnt's admitted conduct does not fall within the scope of the applicable

    statute(s). The defendant further agrees that in the eyent the Court sentences the defendant to a

    sentence within or below the sentencing guidelines as calculated by the Court, regardless ofthe

    defendant's criminal history category or how the sentence is calculated by the Cour! then the

    defandant expressly waives the defendant's right to appeal the sentence imposed in this case on

    any ground, including the right to appeal confened by l8 U.S.C. $ 3742. This blanket waiver of




                                                     l3
Case 3:18-cr-00075-RLY-MPB           Document 34           Filed 09/04/19    Page 14 of 19 PageID #:
                                              83



   appeal specifically includes all provisions of the guilty plea and sentence imposed, including the

   lengfr and conditions supervised release and the amount ofany fine.

          23, Lstcr Legal Chellenges: Additionally, the defendant exprcssly agrees not to
   contes! or seek to modi$, the defendant's conviction or sentence or the manner in which either

   was determined in any later legal proceeding, including but not limited to, an action brought

   under l8 U.S.C. $ 3582 or 28 U.S.C. $ 2255. As concems this Section 3582 waiver, should the

   United States Sentencing Commission and/or Congress in the future amend the Sentencing

   Guidelines to lower the guideline range that pertains to the defendant's offense(s) and explicitly

   make such an amendment retroactive, the Govemment agrees that it will not argue that this

   waiver bars the defendant from filing a motion with the distict court pursuant to 18 U.S.C. $

   3582(c)(2) based on that retroactive Guidelines amendment. However, if the defendant files

   such a motion, the Government may oppose the motion on any other grounds. Furthermore,

   should the defendant seek to appeal an adverse ruling ofthe district court on such a motion, the

   Govemment may claim that this waiver bars such an appeal. As concerns the Section 2255

   waiver, thc waiver does not prevent claims, either on direct or collateml review, that the

   defendant received ineffective assistance of counsel.

          24. No Appeal of Supenired Relerse Term end Conditions: The parties'
   reservation of the rights to present evidence and arguments in this Court concerning the length

   and conditions ofsupervised release is not intended to be inconsistent with the Waiver of Appeal

   specified above, which includes a waiver ofthe right to appeal to the length and conditions of the

   period of supervised release.

                              Part 9: Presentence Inv$tieation Reoort

          25. The defendant requests and consents to the commencement ofa prcsentence

                                                   l4
Case 3:18-cr-00075-RLY-MPB              Document 34      Filed 09/04/19      Page 15 of 19 PageID #:
                                                 84



   investigation by probation ollicers of the United States District Court for purposes of preparing a

   Presentence lnvestigation Report at this time and prior to the entry ofa formal plea of guilty.

            26. The defendant further requests and consents to the review ofthe defendant's
   Presentence Investigation Report by a Judge, defendant's counsel, the defendant, and the

   Govemment at any time, including prior to enEy of a formal plea of guilty.

                                   Pert l0: Stetement of the Defendrnt

            27, By siping this document, the defendant acknowledges the following:
                r.            I have received a copy ofthe Superseding lndictnent and have

   read and discussed it with my attomey. I believe and feel that I understand every accusation

   made against me in this case. I wish the Court to omit and consider as waived by me all readings

    ofthe Superseding Indictnent in open Court, and all further proceedings including my

    arraignment.

                    b.      I have told my attomey the facts and surrounding circumstances as known

    to me conceming the matters mentioned in the Superseding Indictrnent, and believe and feel that

    my attorney is fully informed as to all such mauers. My attorney has since informed, counseled

    and advised me as to the nature and cause of every accusalion agains me and as to any possible

    defenses I might have in this case.

                    c.      I have read the entire Plea Agreement and discussed it with my attomey.

                    d,      I understand all the terms ofthe Plea Agreemant and those terms conectly

    reflect the results of plea negotiations.

                    e.      Except for the provisions of the Plea Agreemenq no offrcer or agent ofany

    branch ol Govemment (federal, state or local), nor any other person, has made any promise or

    suggestion ofany kind to me, or within my knowledge to anyone else, that I would receive a




                                                    15
Case 3:18-cr-00075-RLY-MPB            Document 34         Filed 09/04/19      Page 16 of 19 PageID #:
                                               85



    lighter sentence, or probation, or any other form of leniency, if I would plead "Guilty." I

    respectfully request that the Courl consider in mitigation of punishment at the time of sentencing

    the fact that by voluntarily pleading "Guilty" I have saved the Covemment and the Court the

    expense and inconvenience of a trial. I undersund that before it imposes sentence, the Court will

    address me personally and ask me if I wish to make a statemenl on my behalf and to pres€nt any

    information in mitigation of punishment.

                    f.     I am fully satisfied with my attorney's representation during all phases of

    this case. My atlorney has done all that anyone could do to counsel and assist me and that I fully

    understand the proceedings in this case against me.

                    g,     I make no claim of innocence, and I am freely and voluntarily pleading

    guilty in this case.

                    h,     I am pleading guilty as set forth in this Plea Agreemenl because I am

    guilty of the crime(s) to which I am entering my plea-

                    L      I understand that if convicte4 a defendant who is not a United States

    Citizen may be removed from the United States, denied citizenship, and denied admission to the

    United States in the future.

                    j.     My attomey has informed me, and I understand, that I have the right to

    appeal any conviction and sentence that I receive, unless I have waived my right to appeal as part

    of this Plea Agreement. If I have not waived my right to appeal, I understand that I must file a

    Notice ofAppeal within fourteen (14) days of the entry ofthe judgrnent in this case; I further

    understand that the clerk ofthe court will prepare and file a Notice of Appeal on my behalf if I

    ask that to be done. I also understand that the united states has the right to appeal any sentence

    that I receive under this Plea Agreement.




                                                    l6
Case 3:18-cr-00075-RLY-MPB            Document 34          Filed 09/04/19       Page 17 of 19 PageID #:
                                               86



                   k       My attomey has informed me, and I understand, that if I provide or cause

    to be provided materially false information to ajudge, magistrate-judge, or probation office, then

    Section 3C1.1 ofthe Sentencing Guidelines allows the Court to impose a two-level increase in

    the offense level.

                   l.      If this cause is currently set for trial on the Coun's calendar, I request that

    this date be continued to permit the Court to consider this pmposed guilty Plea Agreement. I

    further understand that any delay resutting from the Court's consideration of this proposed guilty

    Plea Agreemen! up to and including the date on which the Court either accepts or rcjects my

    guilty plea, will be excluded in computing the time within which tial of this cause must

    commence, pursuant to   lt u.s.c. $ 3161(hxlxc).
                                     Pert ll: Certifcrte of Counsel

            2E. By sigring this document, the defendant's attomey and counselor certifies as
    follows:

                    t.     I have read and fully explained to the defendant all the accusations against

    the Defendanr which arc set forth in the Superseding Indictrnent in this case;

                    b.     To the bes ofmy knowledge and beliefeach statement set forth in the

    foregoing petition to enter plea of guilty and Plea Agreement is in all respects accurate and true;

                    c.     The plea of"Guilty" as offered by the defendant in the foregoing petition

    to enter plea of guilty and Plea Ageement accords with my understanding of the facts as related

    to me by the defendant and is consistent with my advice to the defendant;

                    d.     In my opinion, the defendant's waiver ofall reading ofthe Superseding

    Indictrnent in open Court, and in all further proceedings, including anaignment as provided in




                                                      t7
Case 3:18-cr-00075-RLY-MPB            Document 34           Filed 09/04/19   Page 18 of 19 PageID #:
                                               87



    Rule 10, Fed. R. Crim. P., is voluntarily and understandingly made; and I recommend to the

    Court tllat the waiver be accepted by the Court;

                   e.     In my opinion, the plea of "Guilty" as offered by the defendanr in the

    foregoing petition to enter plea of guilty and Plea Ageement is voluntarily and undentandingly

    made and I recommend to the Cow that the plea of "Guilty" be now accepted and entered on

    behalfofthe defendant as requested in the foregoing petition to enter plea ofguilty and Plea

    Agreement.




                                                       l8
Case 3:18-cr-00075-RLY-MPB            Document 34          Filed 09/04/19       Page 19 of 19 PageID #:
                                               88



                                         Psrt 12: Fhrl Provbion

           29. Complete Agreement: The defendant acknowledges that no threats, promises, or
    rcpresentations have been made, nor agr€ements reached, other than those set forth in this

    document, to induce the defendant to plead guilty. This document is the complete and only Plea

    Agreement between the defendant and the United States Attomey for the Southem District of

    Indiana and is binding only on the parties to the Plea Agreement, supersedes all prior

    understandings, if any, whether written or oral, and cannot be modified except in writing, sigted

    by all parties and filed with the Court, or on the r€cord in open court.

                                                           Respectfu lly submitted,

                                                           JOSHJ. MINKLER
                                                           United States Attomey


      1-'{-\1
    DATE
                                                             llrL^-
                                                           Kyle M. Sawa
                                                           Assistant United States Attorney


       1-s- r ?
    DATE                                                   Todd
                                                           Deputy Chief, Evansville Branch


     qbllF
    DATE                                                             . Kelley




     4/il 17
    DATE                                                   Steve Bohleber
                                                           Counsel for Defendant




                                                      l9
